          Case 1:20-cr-00002-VSB Document 30
                                          29 Filed 11/01/20
                                                   10/30/20 Page 1 of 2




                                                                                       October 30, 2020
BY ECF
The Honorable Judge Vernon S. Broderick
United States District Judge                                         11/1/2020
Southern District of New York           The status conference scheduled for November 2, 2020 is hereby adjourned to
500 Pearl Street                        November 17, 2020 at 9:00 a.m. The adjournment is necessary to allow the parties
New York, NY 10007                      to discuss a possible pretrial disposition of the matter. The Court finds that the
                                                ends of justice served by granting a continuance outweigh the best interests of the
RE:     United States v. Idris Browning public and the defendant in a speedy trial. Accordingly, it is further ordered that
        20 Cr. 02 (VSB)                 the time between November 2, 2020 and November 17, 2020 is hereby excluded
                                                under the Speedy Trial Act, 18 U.S.C. 3161 (h) (7) (A), in the interest of justice.
Honorable Judge Broderick:

        A status conference in the above-captioned case is currently scheduled for November 2,
2020. Given the current COVID-19 pandemic and the fact that Mr. Browning is currently
incarcerated at the Metropolitan Detention Center, the defense respectfully requests that the
conference be adjourned to the week of November 16, 2020 to allow defense counsel sufficient
time to discuss the remote plea procedures with Mr. Browning in advance of the remote plea. To
that end, the defense and the Government have conferred and both parties are available on Monday,
November 16 from 1 to 2pm, Tuesday, November 17 from 9 to 11 am, Wednesday, November 18
after 2pm, and Friday, November 20 after 10:30 am. The defense believes that in order to safeguard
Mr. Browning’s health, a remote plea is necessary and appropriate under the CARES Act.
       In addition, the Government requests, with the consent of defense counsel, that the Court
exclude time through the next-scheduled conference under the Speedy Trial Act. Such an exclusion
would be in the interests of justice as it would allow the parties time to continue discussions
concerning pretrial dispositions of this matter. See 18 U.S.C. § 3161(h)(7)(A).
        Thank you for your consideration of this request.
                                                           Respectfully submitted,

                                                           /s/
                                                           Marne L. Lenox
                                                           Assistant Federal Defender
                                                           (212) 417-8721
        Case 1:20-cr-00002-VSB Document 30
                                        29 Filed 11/01/20
                                                 10/30/20 Page 2 of 2




cc:   Christy Slavik, Assistant U.S. Attorney




                                                2
